        Case 1:19-cr-00696-PAE Document 388-1 Filed 09/21/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,
                                                                 S2 19 Cr. 696 (PAE)

      Plaintiff,
              v.
ARI TEMAN,                                                      CERTIFICATION
                                                            OF RONALD D. COLEMAN

       Defendant.



       RONALD D. COLEMAN, of full age, affirms under penalty of perjury and says:

       1.      I am a member of Dhillon Law Group, Inc. and was formerly counsel of record for

Gateguard, Inc., of which Mr. Ari Teman, defendant in this criminal action, is principal, in a civil

litigation matter in this Court styled Gateguard, Inc. v. Goldmont Realty Corp., et al.,

1:20-cv-01609(GWG)(AJN).

       2.      On November 21, 2021, our firm filed a motion to be relieved in that matter,

following Mr. Teman’s instructions that we no longer represented it in this or any other matter.

The end of this professional relationship was not cordial or pleasant.

       3.      Notwithstanding these facts, Mr. Teman recently contacted me and asked me if I

could recall certain events that took place approximately a year earlier, in October or November of

2020, and whether, if I did, I would prepare an affirmation setting out my recollection.

       4.      Because I am familiar with Mr. Teman’s jeopardy in this criminal matter, I agreed

to do so. Obviously we have not and will not resume an attorney-client relationship.

       5.      The particular matter Mr. Teman asked me about involves what has been described

to me, and what I have read about in press reports, as a relationship—particularly, a spousal

relationship—between a prosecutor in the office of United States Attorney for the Southern
        Case 1:19-cr-00696-PAE Document 388-1 Filed 09/21/23 Page 2 of 2




District of New York involved in the prosecution of this action against Mr. Teman and his defense

counsel at the law firm of Sher Tremonte.

       6.      Mr. Teman asked me if I remembered participating in a telephone call with him and

Sher Tremonte lawyers that took place in November of 2020, which was prior to the disclosure of

this relationship and Mr. Teman’s subsequent discharge of that law firm.

       7.       I do remember such a call, and I remember that there was discussion of whether

the Sher Tremonte lawyers had contacted, or were going to contact, shareholders at 18 Mercer

Street, a cooperative or condominium where a GateGuard device had been installed, to obtain

documents regarding a member of the building’s board being terminated for improper conduct in

connection with its relationship with GateGuard. My understanding is that this same person

testified on behalf of the Government in Mr. Teman’s trial.

       8.      My recollection is that the Sher Tremonte lawyers said that they did, or intended to,

request such documents.

       The foregoing is certified to be true to my best knowledge. I understand that if it is not
       true, I am subject to penalties for perjury.


                                                      __________________________
                                                        RONALD D. COLEMAN

November 22, 2021




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